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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


In re:
 DIANELIS GARCIA ROQUE,                                 Case No.: 21-11965-RAM
                                                        Chapter 7
        Debtor.
 __________________________/

              EX-PARTE APPLICATION FOR APPROVAL OF EMPLOYMENT OF
                  MICHAEL P. DUNN AND DUNN LAW, P.A., AS COUNSEL
                       TO MARCIA T. DUNN, CHAPTER 7 TRUSTEE

         MARCIA T. DUNN, the duly appointed Chapter 7 Trustee (the “Trustee”) for the bankruptcy

estate of DIANELIS GARCIA ROQUE (the “Debtor”), files this ex parte application (the

“Application”) pursuant to 11 U.S.C. §§ 327 and 330 and Fed.R.Bankr.P. 2014 and 2016, seeking

approval of the employment of Michael P. Dunn (“Dunn”) and the law firm of Dunn Law, P.A.

(“DLPA”) as counsel to the Trustee and states:

                                           BACKGROUND

         1.     On February 27, 2021 (the “Petition Date”), the Debtor, commenced the instant

bankruptcy case with the filing of a voluntary petition for relief under Chapter 7, Title 11 of the United

States Bankruptcy Code.

         2.     Marcia T. Dunn was appointed as the Chapter 7 Trustee of the Debtor’s bankruptcy

estate (the “Estate”).

         3.     The Debtor’s Meeting of Creditors pursuant to 11 U.S.C. § 341 was held and concluded

on March 24, 2021.

                         RELIEF REQUESTED AND BASIS THEREFOR

         4.     It is necessary that the Trustee employ attorneys to represent the Trustee in this case to

perform ordinary and necessary legal services required in the administration of the Estate.

         5.     The Trustee seeks to retain Dunn and DLPA to advise and represent her in this

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bankruptcy case.

        6.        Dunn and DLPA have substantial experience in bankruptcy and reorganization cases

before this Court and others, and are qualified to act as counsel for the Trustee.

        7.        The Trustee believes that the attorneys of DLPA are qualified to practice in this Court

and are qualified to advise the Trustee on her relation with, and responsibilities to, the creditors and

other interested parties.

        8.        The Trustee seeks authorization from the Court to retain DLPA to, among other things,

consult with the Trustee concerning the administration of this case, to investigate the acts, conduct,

assets, liabilities, and financial condition of the Debtor, and assist the Trustee in recovery of assets.

Such services are necessary and the Trustee submits that the employment of DLPA would be in the

best interest of the Debtor’s Estate.

        9.        It is in the best interest of this Estate and its economical administration that Dunn and

DLPA, a law firm of which the Trustee is a shareholder and partner, be authorized to act as an attorney

for the Estate.

        10.       To the best of the Trustee’s knowledge, DLPA is “disinterested” (as such term is

defined in 11 U.S.C. § 101(14)) as required by 11 U.S.C. § 327(a) and has no connection with the

Debtor, the creditors or any other party in interest, except as set forth in the Declaration of Michael P.

Dunn on behalf of Dunn Law, P.A., as Proposed Counsel to Marcia T. Dunn, Chapter 7 Trustee (the

“Affidavit”), attached hereto as Exhibit “A.”

        11.       Except as otherwise disclosed herein, neither Dunn nor DLPA hold or represent any

interest adverse to the Estate and the Trustee believes that the employment of DLPA would be in the

best interest of the Estate.

        12.       DLPA has agreed to perform the foregoing services at its ordinary and usual hourly

billing rates for the attorneys and staff working on this matter. The current hourly rates for the attorneys

at DLPA range from $325.00 to $550.00. The current hourly rate of Michael P. Dunn, the primarily

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responsible attorney in this case, is $425.00. DLPA will incur out-of-pocket disbursements in the

rendition of the services for which it shall seek reimbursement. DLPA recognizes that its compensation

is subject to approval and adjustment by the Court in accordance with 11 U.S.C. § 330.

        13.     DLPA will apply for compensation and reimbursement of costs pursuant to 11 U.S.C.

§§ 330 and 331, at its ordinary rates, as they may be adjusted from time to time, for services rendered

and costs incurred during its representation of the Trustee in this case.

        14.     Good cause exists to permit the Trustee to employ the firm of which she and Dunn are

partners, and such employment is in the best interest of the Estate because such employment will result

in substantial cost savings, expedited administration, and is warranted due to DLPA’s existing

administrative involvement.

        15.     The Trustee believes that Dunn is qualified to practice in the Bankruptcy Court and is

qualified to advise the Trustee on its relations with and responsibilities to the Debtor, the creditors, and

other parties herein.

        WHEREFORE, the Trustee respectfully requests that this Court enter an ex-parte order

substantially in the form attached hereto as Exhibit “B” (i) approving the selection and employment

of Michael P. Dunn and Dunn Law, P.A. as counsel to the Trustee in this case; and (ii) granting any

other relief as this Court deems appropriate.

Dated: March 30, 2021                            Respectfully submitted,

                                                 Marcia T. Dunn, Trustee
                                                 66 West Flagler Street
                                                 Suite 400
                                                 Miami, Florida 33130
                                                 Tel: 786-433-3866
                                                 Fax: 786-260-0269
                                                 mdunn@dunnlawpa.com

                                                 By: /s/ Marcia T. Dunn, Trustee
                                                     Marcia T. Dunn, Chapter 7 Trustee




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                                  CERTIFICATEOF SERVICE

       I CERTIFY that a true and correct copy of the foregoing was served by U.S. mail on this 30th

day of March, 2021, upon the Debtor and scheduled secured creditors:

 Dianelis Garcia Roque, Debtor                        Loancare LLC
 21221 SW 125th Path                                  3637 Sentara Way
 Miami, FL 33177                                      Virginia Beach, VA 23452

 Synchrony Bank
 PRA Receivables Management, LLC
 PO Box 41021
 Norfolk, VA 23541

       I CERTIFY that a true and correct copy of the foregoing was served via Notice of Electronic

Filing (CM/ECF) on this 30th day of March, 2021, upon all registered users in this case.

                                              DUNN LAW, P.A.
                                              Proposed Counsel for Marcia T. Dunn, Trustee
                                              66 West Flagler Street, Suite 400
                                              Miami, Florida 33130
                                              Tel: 786-433-3866
                                              Fax: 786-260-0269
                                              michael.dunn@dunnlawpa.com

                                              By:       /s/ Michael P. Dunn
                                                        Michael P. Dunn, Esq.
                                                        Florida Bar No. 100705




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